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                  Exhibit F
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,
 et al.,

               Plaintiffs,
                                                        Civil Action No. 25-965-JRR
                       v.

 THE UNITED STATES OF AMERICA, et al.,

               Defendants.

                         DECLARATION OF DONNA L. CHRISTY

       I, Donna L. Christy, declare pursuant to 28 U.S.C. § 1746 that the following is true and

correct:

       1.      I am a resident of the State of Maryland. I am over the age of 18 and have personal

knowledge of all the facts stated herein. If called as a witness, I could and would testify

competently to the matters set forth below.

       2.      I am the elected president of the Prince George’s County Educators’ Association

(“PGCEA”). I took office as PGCEA president in August 2023. I am authorized to provide this

declaration on behalf of PGCEA, which is a plaintiff in the above-captioned matter.

       3.      I hold a bachelor’s degree in psychology from Russell Sage College; a Master of

Education in school psychology from the College of Saint Rose; and a Doctor of Philosophy in

public policy and administration from Walden University.

       4.      I submit this declaration to describe the effects that actions taken by the Trump

Administration, the U.S. Department of Education (“the Department”), and Secretary of Education
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Linda McMahon to dismantle the Department, are having, and will continue to have, on PGCEA

and its members.

                       Prince George’s County Educators’ Association
       5.      Plaintiff Prince George’s County Educators’ Association is affiliated with the

Maryland State Education Association (“MSEA”) and the National Education Association

(“NEA”). NEA is also a plaintiff in the above-captioned lawsuit.

       6.      PGCEA was founded and incorporated in Maryland on September 10, 1958.

       7.      PGCEA, pursuant to Title 6 of the Education Article of the Annotated Code of

Maryland, is the sole and exclusive bargaining representative of all 10-, 11-, and 12-month

certificated professional employees of the Board of Education of Prince George’s County (except

those identified as administrative and supervisory), Home and Hospital Teachers (“HHTs”), and

Junior Reserve Officers’ Training Corps (“ROTC”) instructors. Md. Code Ann., Educ. § 6-401.

       8.      As of May 2025, PGCEA represents 10,538 professional employees, who include

8,611 dues-paying members. Members of PGCEA are also members of MSEA and NEA.

       9.      PGCEA’s purposes, as described in the PGCEA Bylaws, include the following:

            a. To develop the highest standard of professional practices within the Prince

               George’s County Public School System.

            b. To seek the advancement and improvement of education in the Prince George’s

               County Public School System.

            c. To seek those conditions necessary for an effective and productive educational

               environment.

            d. To represent professional certificated public employees in relationship with the

               public-school employer with regard to salaries, wages, hours, and other working

               conditions.


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        10.      Prince George’s County Public Schools (“PGCPS”) is one of the nation’s 20 largest

school districts. As of September 30, 2024, there were 198 schools within PGCPS, with a total

enrollment of 132,152 students in pre-Kindergarten through twelfth grade. Enrollment Reports,

PGCPS,        https://www.pgcps.org/offices/pupil-accounting/school-boundaries/enrollment-report

(click on “Official Sept 30, 2024 Report”) (last visited June 3, 2025).

        11.      The table below shows PGCPS student racial demographics as of September 30,

2024.

                                                            Total      Percentage
         Hispanic/Latino of Any Race                        52,608     40.1%
         American Indian or Alaska Native                   527        0.40%
         Asian                                              3,600      2.7%
         Black/African American                             67,397     51.3%
         Native Hawaiian or Other Pacific Islander          270        0.21%
         White                                              5,158      3.9%
         Two or More Races                                  1,765      1.3%

Facts & Figures, PGCPS, https://www.pgcps.org/about-pgcps/facts-and-figures (last visited June

3, 2025).

        12.      As of September 30, 2024, 21% of PGCPS students were multilingual learners. Id.

        13.      As of September 30, 2024, 11% of PGCPS students had documented disabilities

and received some type of special education service. Id.; see also PGCPS Department of Special

Education,                  Staffing                 Plan                 6               (2024),

https://drive.google.com/file/d/1rP_KZGDrSJsNAEb5W6cCptclpJOrLC6A/view.

        14.      According to census data, 17,790 PGCPS students were living in poverty, as of

January 1, 2024. SAIPE School District Estimates for 2023, U.S. Census Bureau (Dec. 2024),

https://www.census.gov/data/datasets/2023/demo/saipe/2023-school-districts.html (last visited

June 6, 2025).




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       15.     According to EDFacts data, there were 1,049 PGCPS students experiencing

homelessness during the 2022-2023 school year. Homeless Enrolled Students by State, 2022-2023

School Years, ED Data Express, https://eddataexpress.ed.gov/dashboard/homeless/2022-

2023?sy=2955&s=793.

       16.     As shown in the table below, federal funding for PGCPS has been substantial over

the last three years. For fiscal year 2025, the approved federal funding amounted to 7.6% of the

PGCPS total operating budget. The great majority of federal funds come through grants or funding

streams that impose specific requirements, limitations, or conditions on how the money can be

spent. These funds are often referred to as “restricted funds.”

                Fiscal Year      Total Federal Funds      Total Restricted Funds
                2025             $219,379,072             $219,280,932
                2024             $231,738,135             $231,639,995
                2023             $245,548,380             $245,503,384

PGCPS, Board of Education Approved Annual Operating Budget, Fiscal Year 2025, 31 (2025),

https://www.pgcps.org/globalassets/offices/budget-and-management-services/docs---

budget/fy2025/fy2025-board-of-education-approved-annual-operating-budget.pdf.

PGCPS attributes the $12,359,063 difference between the FY 2024 and 2025 federal funding levels

to decreases in COVID-19 related grants. Id. at 27.

       17.     Almost half of the federal funding PGCPS receives is from restricted grant

programs, including Titles I, II, III, and IV of the Elementary and Secondary Education Act of

1965 (“ESEA”), as amended by the Every Student Succeeds Act; Junior ROTC; funding for Career

and Technical Education (“CTE”) programs as provided for in the Carl D. Perkins Career and

Technical Education Act of 2006; and the Individuals with Disabilities Education Act’s Grants to

States for Special Education. Id. at 33. The table below shows the approved funds from major

federal aid formula grant programs for fiscal year 2025, totaling $101,754,180. Id.



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             Formula Grant                               FY 2025 Approved Funding
             Title I                                     $60,129,138
             Title II                                    $5,026,094
             Eisenhower Teacher Quality
             Title III-A                                 $4,120,578
             Immigrant Grant
             Title IV                                    $4,614,873
             Safe & Drug Free Schools/SAES Grant
             Perkins CTE Program                         $1,995,348
             Special Education Grants - IDEA Part B      $25,868,149
                                           TOTAL         $101,754,180

PGCPS uses these federal funds to pay for salaries and wages, supplies and materials, employee

benefits, contracted services, and other operating costs. Id.

       18.     More than half of PGCPS schools (107 out of 198 schools) receive Title I funding

for school-wide programs. Title I Schools, PGCPS, https://www.pgcps.org/offices/essa-and-title-

1/title-i-schools (last visited June 3, 2025). Those 107 schools collectively employ 4,914 PGCEA-

represented educators including PGCEA members. Title I funds are used to upgrade the

instructional program, design school-wide instructional programming, and incorporate family and

parental involvement activities.

       19.     I received information from the PGCPS school board detailing the number of

PGCEA-represented positions that are funded through federal programs. The information provided

shows that, as of May 2, 2025, hundreds of positions represented by PGCEA were paid for with

federal grants, including 233 positions funded by Title I, 153.3 positions funded by IDEA pass-

through funds, 6 positions funded by Title II, and 3 English language teachers funded by Title III.

The funded positions include behavior specialists, school psychologists, school social workers,

speech therapists, occupational therapists, physical therapists, adapted physical education teachers,




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and resource teachers. On information and belief, many of the funded positions are held by PGCEA

members.

        20.    PGCEA members participate in professional training and continuing education

supported by federal funds distributed according to ESEA Titles I, II, III, and IV, Perkins V, and

IDEA.

        21.    The Department also runs competitions to which school districts may apply for

funding. 34 C.F.R. § 75.1(b). These are known as competitive or discretionary grants. One type of

competitive grant authorized through the Every Student Succeeds Act (“ESSA”) is known as

School Based Mental Health Services (“SBMH”). I received information from the PGCPS School

Board that, in 2023, the Board of Education for Prince George’s County, MD, Inc. was awarded

an SBMH grant to fund the five-year Strategic Talent Acquisition Roadmap (“STAR”) Project that

was intended to increase the availability of mental health support to students by recruiting and

retaining culturally and linguistically diverse credentialed school counselors and school

psychologists. Funding was anticipated through May 2027. Key components of the STAR project

included tuition reimbursement for students from university partners, online and in-person

recruitment efforts, mentor programs, incentives for mentors and intern/practicum school

counseling and school psychologist supervisors, mental health mini-project funding, training for

mentors, and the development of a recruitment & retention workgroup. The STAR Project is

critical to workforce development and training for aspiring school psychologists. The district has

had a critical number of school psychologist vacancies. Specifically, there were 7 vacant positions

leaving 18 schools without a school psychologist permanently assigned, meaning that 9,789

students (including 1,220 special education students) in the district did not have access to a school

psychologist. On information and belief, members of the PGCPS Office of Psychological Services




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have received payment through the STAR Project for their work supervising interns and practicum

students. In the current school year (2024-2025) supervisors for 5 interns were funded, and 2-3 of

those supervisors intended to remain with the district. Retention of the supervisors would reduce

the number of vacancies and therefore improve student access to permanently assigned school

psychological services. For these reasons, there is no question that the SBMH grant has been

essential to PGCPS

       22.     In addition to benefiting from direct federal funding, PGCEA members regularly

use instructional and research tools made available by the Department, as reflected in the results

of a recent survey PGCEA conducted to determine whether and how PGCEA members rely on

Department resources. Survey respondents overwhelmingly reported relying on Department

resources. For example, PGCEA members who work with multilingual learners receive

professional development that uses research from the Education Resources Information Center

(“ERIC”) and the National Clearinghouse for English Language Acquisition (“NCELA”). PGCEA

members also use several instructional models from the Department’s Institute of Education

Sciences’ (“IES”) What Works Clearinghouse (“WWC”), a centralized and standardized

repository of evidence-based best practices for educators. For example, PGCEA’s 1,738 special

education educators use the WWC to ensure that they deliver student interventions and evidence-

based practices aligned with evidentiary standards as required by the ESEA, as amended by ESSA.

Teachers need to be diligent about making sure that the resources and strategies used in classrooms

will achieve real results. The best educators stay on top of studies and trends to best serve their

students, and many PGCEA members rely on Department resources to do so.




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       23.      Of the more than 129 PGCEA members who responded to the survey, 95 reported

using at least one instructional or research tool made available by the Department. A handful of

illustrative examples follow:

             a. Alyson Harkins has been an educator for 15 years. She regularly refers to the WWC

                for practical information to address specific issues in her classroom. For example,

                Ms. Harkins has relied on the WWC to find effective strategies to improve reading

                fluency for high school students. WWC played a particularly important role in this

                example because reading fluency is more commonly a difficulty for younger

                students, and therefore most traditional strategies are not well-suited to older

                students. In addition, Ms. Harkins describes ERIC, a free database of peer-reviewed

                literature, white papers, and other materials, as the go-to resource for education

                research.

             b. A teacher of multilingual students at a PGCPS community school, who has been an

                educator for decades, recently turned to the Department’s resources on peer

                reviewed studies when he wanted to advocate for a literacy tool that the school

                stopped purchasing. He has also attended at least one conference at the Department

                headquarters that expanded his awareness of ways to use technology in the

                classroom and create new learning opportunities for his students.

             c. Lisa Avolio has been teaching in Maryland public schools for 10 years and is a

                mother of children with disabilities. As a teacher of multilingual students, Ms.

                Avolio relies on NCELA, ERIC, and the WWC to identify strategies proven to

                benefit students rather than using her students to test different approaches. She has

                also attended national webinars through the Office of English Language




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        Acquisition (“OELA”), NCELA, and IES hosted by the Department. Between

        November 2024 and January 2025, Ms. Avolio attended three webinars through the

        OELA Newcomer Toolkit series. On September 9, 2020, she attended an IES

        webinar entitled “Teacher Collaboration: Aligning Content and Language

        Instruction”; and on April 21, 2021, she attended an NCELA webinar entitled

        “English Learners in Secondary Schools: Trajectories, Transition Points, and

        Promising Practices.”

     d. Jessica Leedy has been an educator for 12 years and currently works as a science,

        technology, engineering, the arts, and mathematics (“STEAM”) student resource

        teacher. She is also enrolled in a Doctor of Education (“Ed. D.”) program, through

        which she has gained a deeper understanding of the ESSA Tiers of Evidence and

        how to more effectively use the research, data, and evaluation materials made

        available through the WWC. Ms. Leedy has relied on ERIC throughout her

        education and career to identify evidence-based practices. She currently serves

        eight middle schools, five of which receive Title I funding. Title I funding allows

        under-resourced schools to provide after-school programs, extended learning

        opportunities, reading and math coaches, evening events with parents and students,

        teacher training, and additional support that they would not otherwise be able to

        provide. The after-school programs provide impactful test preparation, direct

        instruction, and small group instruction that cannot happen in the regular classroom.

        Just this year, Title I money funded Ms. Leedy to train hundreds of PGCPS teachers

        and Title II funding-supported training for thousands of PGCPS teachers.




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       24.     PGCEA members have also benefitted from the services of Federal Student Aid

(“FSA”). Of the 129 members surveyed, 96 of those members responded that they have sought

assistance from FSA for themselves, a spouse, or a dependent.

                                           Irreparable Harm
       25.     PGCEA members rely on Department resources every day to improve their

professional practices and the quality of education that is provided to PGCPS students. In Prince

George’s County, the dismantling of the Department has caused significant uncertainty about

federal funding for important teacher positions, programs, and resources.

       26.     On March 19, 2025, teachers and students at approximately two dozen PGCPS

schools participated in “walk-ins” organized by NEA to demonstrate their concerns about the

threats they are facing as a result of the Trump administration’s cuts to the Department and public

education. See Tim Walker, Educators, Parents “Walk-In” to Protect Public Schools, neaToday

(Mar. 20, 2025) https://www.nea.org/nea-today/all-news-articles/educators-parents-walk-protect-

public-schools.

       27.     As of September 2024, nineteen PGCPS schools were overenrolled, and many more

were near full capacity. Cuts to Title I funds for whatever reason, including the Department’s

inability to properly administer the funding formulas, will increase classroom size, causing even

more overcrowding, which means teachers will have even less time to devote to individual student

instruction and support. Teacher positions funded through Title I will be eliminated.

       28.     If Title I funding were eliminated altogether, PGCEA would not be able to fulfill

its mission. Title I funding is critical to PGCEA efforts to develop the highest standard of

professional practices within the PGCPS System; to seek the advancement and improvement of

education in the PGCPS System; and to seek those conditions necessary for an effective and

productive educational environment.


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       29.      The dismantling of the Department will also erode civil rights protections and other

support for students with disabilities in PGCPS.

       30.      Without a team of Department staff working on WWC and ERIC, teachers will not

be able to access up-to-date research to ensure that they are using evidence-based instructional

methods in their classrooms. It will not be possible for a teacher or school district to know whether

a product or strategy will benefit their students.

       31.      From my years of experience in education, I know that once a student falls behind

in their learning and development, it is extremely difficult to get them back on track. In PGCPS,

we still see the impact of the COVID-19 pandemic and increased remote learning on student

development. Additional setbacks will compound the learning and social-emotional struggles that

students are experiencing.

       32.      PGCEA surveyed members to identify impacts on students and their education due

to the dismantling of the Department. A handful of illustrative examples follow:

             a. Based on her 15 years of experience as an educator, Ms. Harkins describes the

                Department’s oversight of disability rights as “very powerful,” and explained that

                without investigations and monitoring by the Office for Civil Rights, student needs

                in the district will go unaddressed and civil rights laws will not be enforced. In

                particular, she is aware of families that rely on the Department’s translations of

                resources into Spanish in order to make informed decisions about pursuing their

                rights related to their child’s individual education program (“IEP”).

          b.    A teacher of multilingual students explains that most of their students qualify for

                free meals and have limited or no access to the internet at home. Reductions to




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         Department funding will cause those students to lose access to critical resources

         that enable productive learning, including school lunch and the internet.

    c.   Ms. Avolio adds that the fast-paced development of educational resources and

         technology (including artificial intelligence) will quickly render the Department’s

         resources out of date when they are not maintained by a team of researchers. As a

         result, teachers will have no choice but to resort to outdated or untested instructional

         methods and, as a result, students will not receive the instruction they need. In

         particular, students with disabilities will not receive the educational opportunity

         necessary to achieve their full potential. She explained that the dismantling of the

         Department will result in discrimination against the most vulnerable students and

         will pull resources from the students who need the support most desperately. As

         Ms. Avolio describes it, the Department is handcuffing teachers’ ability to instruct

         the next generation of our society.

    d.   Ms. Leedy regularly witnesses the stark difference in student experiences and

         outcomes that schools with Title I funding can provide compared to new, under-

         resourced PGCPS schools that do not qualify for Title I funding in their first year

         of operation. The schools in PGCPS that receive Title I funding provide after school

         programs, extended learning opportunities, and reading and math coaches that new

         under-resourced PGCPS schools cannot offer. Ms. Leedy has also observed the

         heightened social-emotional needs of students over the last five years, including

         that increased numbers of students were experiencing suicidal ideation. Funding

         for mental health support is a life-saving intervention, and the termination of mental

         health funding will have severe consequences.




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       33.     In May 2025, I received information from the School Board about the status of the

STAR Project. I have been informed that on April 29, 2025, the STAR Project Director received

a notice of non-continuation from the Department’s Office of Planning, Evaluation, and Policy

Development. The notice of non-continuation that PGCPS received from the Department provided

no individualized basis for the termination and contained only generalized statements that the

program was inconsistent with the best interests of the Federal Government. On information and

belief, the notice that PGCPS received from the Department was identical to notices of non-

continuation received by many other awardees in April 2025, except for the recipient’s name and

grant number. The notice does not identify anything specific about services PGCPS provided

through the SBMH grant or the district’s administration of the grant that caused the discontinuance.

PGCPS will not benefit from the final two years of funding on which it has relied to pay key mental

health staff and therefore must cease all grant activities effective at the end of the current grant

budget period (December 31, 2025), which will result in the loss of staff positions and critical

mental health supports for students.

       34.     The dismantling of the Department has caused significant uncertainty about federal

funding for important positions, programs, and resources. In our district, budget reconciliation

occurs yearly in June. That means that PGCPS must make decisions by July 1, 2025, about which

staff it can afford to retain for the 2025-2026 school year. If a court does not intervene and the

Department is not required to continue existing grants, funding for next school year will remain

uncertain, and as a result, mental health services to students will be discontinued and PGCEA

members are likely to be laid off.




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       I declare under penalty of perjury under the laws of the United States that, to the best of

my knowledge, the foregoing is true and correct.


Executed on June~ 2025, at     G: 01 PH .




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